                                    UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF SOUTH CAROLINA
                                          FLORENCE DIVISION

    LM GENERAL INSURANCE,               )                       Civil Action No.: 4:18-cv-01264-RBH
                                        )
          Plaintiff,                    )
                                        )
    v.                                  )                       ORDER
                                        )
    DAISY FREDERICK,                    )
                                        )
          Defendant.                    )
    ____________________________________)

           This matter is before the Court on: (1) Plaintiff LM General Insurance’s ("LM General")

    motion for default judgment, alternatively, summary judgment [ECF No. 8]; and (2) Defendant

    Daisy Frederick’s ("Frederick") motion to set aside default [ECF No. 13]. For the reasons set forth

    below, the Court grants Defendant Frederick's motion to set aside default, denies Plaintiff LM

    General's motion for default judgment, and denies, without prejudice, Plaintiff LM General's motion

    for summary judgment.1

                                                 Factual Allegations

             The instant lawsuit is a declaratory judgment and breach of contract action brought by

    Plaintiff LM General against Defendant Daisy Frederick. LM General seeks an Order finding that

    Frederick breached an agreement to settle a personal injury claim, or alternatively, for an Order

    declaring the LM General complied with Frederick's demand letter, or alternatively, that Frederick's

    demand letter is invalid.

           On April 29, 2015, in Anson County, North Carolina, Defendant Frederick was involved in a

    motor vehicle accident with Daniel Lee McDowell (“McDowell”). Compl. at ¶ 4. At the time,



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          Pursuant to Local Civil Rule 7.08 (D.S.C.), the Court dispenses with a hearing on the motion.
Frederick was operating a vehicle owned by Christine Howard (“Howard”), and McDowell was

operating his own vehicle. Id. Plaintiff LM General insured McDowell’s vehicle with a policy in

effect at the time of the accident (the “Policy”). Id. at ¶ 5. The Policy has liability limits of $50,000

per person, $100,000 per accident, and $50,000 in property damage. Id.; see Policy [ECF No. 1-1].

After the accident, Frederick hired counsel from the Anastopoulo Law Firm to represent her for her

bodily injury claim resulting from the accident. Compl. at ¶ 6; see Letter of Representation [ECF

No. 1-2]. Howard’s automobile insurer, Allstate Insurance, paid $5,211.60 for property damage to

her vehicle, which it subsequently recouped from LM General. Compl. at ¶¶ 7–8.

       On February 16, 2016, Frederick’s counsel sent a demand letter to LM General on

Frederick’s behalf, requesting the policy limits. Id. at ¶ 9; see Demand Letter [ECF No. 1-3]. The

demand letter contains numerous conditions and requirements, including an affidavit from

McDowell and receipt of the policy proceeds no later than March 1, 2016. Compl. at ¶ 9.

       On February 29, 2016, LM General responded to the demand letter, tendering checks for the

$50,000 bodily injury limit and the remaining $44,788.40 property damage limit, the requested

affidavit from McDowell, and a draft covenant not to execute against McDowell to be signed by

Frederick. Compl. at ¶ 10; see Response to Demand Letter [ECF No. 1-4].

       On March 1, 2016, Frederick’s counsel received LM General’s checks and documents, but

on March 4, 2016, Frederick’s counsel returned the checks with a letter stating that LM General

failed to accept Frederick’s offer of compromise by failing to tender the policy limits and include

the requested affidavit by the deadline. Compl. at ¶¶ 11–12; see Proof of Delivery [ECF No. 1-5];

see Mar. 4, 2016 Letter [ECF No. 1-6]. On March 30, 2016, LM General sent Frederick’s counsel a

letter stating that it complied with the demand by tendering the policy limits and McDowell’s


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    affidavit. Compl. at ¶ 13; see Mar. 30, 2016 Letter [ECF No. 1-7].

           On April 1, 2016, Frederick filed a lawsuit against McDowell in South Carolina state court.

    Compl. at ¶ 14; see Frederick v. McDowell, Civil Action No. 2016-CP-34-00072. After a trial from

    January 29 to 30, 2018, a $5 million verdict was rendered against McDowell, in excess of

    McDowell's insurance coverage under the LM General policy. Compl. at ¶ 15. As of the filing of

    the instant federal lawsuit, there are post-trial motions still pending in the underlying state court

    action.2 Id.

                                                   Procedural History

           On May 8, 2018, LM General filed a complaint in this Court, asserting diversity jurisdiction3

    and alleging causes of action for breach of contract and a declaratory judgment.4 Compl. at ¶ 3, pp.

    7–8. LM General contends that it “complied with all essential terms” of the demand letter and that

    the parties had a valid contract, which Frederick breached by rejecting the payment of policy limits

    without good cause. Compl. at ¶¶ 11–12. As relief, LM General asks the Court “for an Order

    finding that the Defendant breached the [Contract], or alternatively, for an Order declaring that LM

    General complied with [the] demand letter, or alternatively, that the demand letter is invalid[,] and

    any other relief” the Court deems just and proper.” Id. at 8. Frederick was served personally, but

    not her attorney who represented her in the underlying auto accident lawsuit.



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           As of February 12, 2019, a search of the underlying lawsuit’s docket indicates that the post-trial motions
are still pending, and the parties have not notified this Court of any further disposition.

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         For diversity purposes, Defendant Frederick is a resident and citizen of South Carolina; Plaintiff LM General
is a Massachusetts corporation with its principle place of business in Massachusetts. Compl. at ¶¶ 1–2; Answer at
¶¶ 1–2.

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         The complaint states that this case “is brought under two distinct legal theories”: (1) common law breach
of contract; and (2) “alternatively” under the federal Declaratory Judgment Act. Compl. at ¶ 26.

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       After Frederick failed to file a responsive pleading or appear in this case, LM General

requested an entry of default on June 28, 2018. See ECF No. 6. On June 29, 2018, the Clerk of

Court entered default against Frederick. See ECF No. 7. On July 23, 2018, LM General filed a

motion for default judgment and/or for summary judgment. See ECF No. 8. The motion for default

judgment asks the Court to enforce the Contract, and, for the first time, requests “[i]n the

alternative” a $4,905,211.60 judgment against Defendant. Mot. for Default J. at 8. As further

alternative relief, the motion for default judgment and/or for summary judgment also requests “a

declaration from the Court that the demand letter was invalid” if the Court finds that LM General is

not entitled to enforcement of the Contract or breach of contract damages. Id. at 8–9. Subsequently,

on August 1, 2018, Frederick appeared in this case, filing an answer [ECF No. 11], the instant

motion to set aside the entry of default [ECF No. 13], a motion to dismiss [ECF No. 14], and a

response in opposition to LM General’s motion for default judgment [ECF No. 15]. On August 8

and 15, 2018, LM General filed responses in opposition to Frederick’s motion to set aside the entry

of default. [ECF Nos. 17].

                                              Discussion

       Through counsel (her same attorney that represented her in the auto accident), Defendant

Frederick has moved to set aside the Clerk's entry of default. Under Rule 55(c) of the Federal Rules

of Civil Procedure, "[t]he court may set aside an entry of default for good cause." Fed. R. Civ. P.

55(c). "When deciding whether to set aside an entry of default, a district court should consider

whether the moving party has a meritorious defense, whether it acts with reasonable promptness, the

personal responsibility of the defaulting party, the prejudice to the party, whether there is a history

of dilatory action, and the availability of sanctions less drastic." Payne ex rel. Estate of Calzada v.


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Brake, 439 F.3d 198, 204-05 (4th Cir.2006). The Fourth Circuit has "repeatedly expressed a strong

preference that, as a general matter, defaults be avoided and that claims and defenses be disposed of

on their merits." Colleton Preparotory Academy, Inc. v. Hoover Universal, Inc., 616 F.3d 413, 417

(4th Cir. 2010). "Generally, a default should be set aside where the moving party acts with

reasonable promptness and alleges a meritorious defense." Consolidated Masonry & Fireproofing,

Inc. v. Wagman Const. Corp., 383 F.2d 249, 251 (4th Cir. 1967) (citing 6 Moore's Federal Practice

P55.10(1)-(4), pp. 1829-1842 (2d ed. 1966)).

       The first factor the Court should consider in determining whether to set aside entry of default

is whether Frederick has a meritorious defense. “[A]ll that is necessary to establish the existence of

a ‘meritorious defense’ is a presentation or proffer of evidence, which, if believed, would permit

either the Court or the jury to find for the defaulting party." United States v. Moradi, 673 F.2d 725,

727 (4th Cir. 1982). The instant lawsuit alleges that Frederick breached a contract with LM

General based on Frederick's pre-suit settlement demand/offer to settle that was accepted by LM

General. Frederick proffers in defense of the claim that LM General did not accept her offer to

settle the case and instead proposed a counter-offer, which Frederick was free to reject. Thus,

Frederick claims there was no contract between her and LM General. Specifically, Frederick alleges

that Frederick's settlement offer required payment by certified check. When LM General issued

payment, it was by regular draft and Frederick contends that the draft could not be negotiated and

was issued to the wrong people. Frederick also contends that LM General added additional terms

and conditions to the agreement that Frederick was not willing to accept. Frederick has alleged a

meritorious defense to both LM General's breach of contract claim and LM General's request for a

declaration that LM General complied with Frederick's demand letter. The meritorious defense


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factor weighs in favor of setting aside the entry of default.

       The next factor the Court should consider is whether Frederick acted with reasonable

promptness in moving to set aside the entry of default. The Clerk entered default on June 29, 2018.

LM General filed its motion for default judgment on July 23, 2018. Frederick moved to set aside

the default on August 1, 2018. Frederick's counsel has indicated that he filed the motion to set aside

the default two days after discovering the default. Regardless, approximately only a month passed

between the entry of default and the motion to set aside. The Court finds that Frederick acted with

reasonable promptness in moving to set aside the default.

       The third factor is personal responsibility of the defaulting party. Frederick retained counsel

in the underlying lawsuit on May 7, 2015. [Affidavit of Daisy Frederick, ECF No. 13-1].

Frederick's counsel notified LM General of his representation of Frederick by letter dated June 19,

2015. [Letter of Representation, ECF No. 1-2]. Frederick's counsel's Letter of Representation was

attached as an exhibit to LM General's complaint, suggesting that LM General and its counsel were

aware that Frederick had retained counsel. Nevertheless, when LM General filed this lawsuit on

May 8, 2018, it did not provide a courtesy copy of the summons and complaint to Frederick's

attorneys. When Frederick was served with papers in the instant matter, she assumed that her

attorneys were provided copies and were aware of the lawsuit. [Affidavit of Daisy Frederick, ECF

No. 13-1]. While LM General was not "required" under the Federal Rules of Civil Procedure to

serve Frederick's counsel with a copy of the summons and complaint, the fact that Frederick was

represented by counsel and LM General and its counsel knew this, yet surreptitiously served

Frederick without putting Frederick's counsel on notice, militates in favor of setting aside the

default.


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        The fourth factor is prejudice to the non-defaulting party. Here, LM General will face no

discernible prejudice if the default is set aside.

        The fifth factor requires the Court to consider whether Frederick has a history of dilatory

action. There is no history of dilatory action by Frederick in this case. Frederick believed that her

attorneys were aware of the lawsuit and that they had responded to it. See [Affidavit of Daisy

Frederick, ECF No. 13-1]. Once Frederick's attorneys were made aware of this lawsuit, they

promptly moved to set aside the entry of default.

        The final factor to consider is the availability of less drastic sanctions. No sanctions are

warranted in this case because Frederick acted promptly to cure the default and did not act

intentionally or in bad faith. LM General filed this lawsuit without providing notice to Frederick's

counsel even though it knew that Frederick was represented by counsel as evidenced by the letter of

representation that LM General attached to the Complaint.

        In conclusion, Frederick is entitled to have the Clerk's entry of default set aside. Frederick

acted promptly to cure the default and has alleged a meritorious defense. See Consolidated Masonry

& Fireproofing, Inc., 383 F.2d at 251 (stating "[g]enerally, a default should be set aside where the

moving party acts with reasonable promptness and alleges a meritorious defense). The remaining

factors also weigh in favor of setting aside the default as discussed above.

                                               Conclusion

        For the reasons set forth above, Defendant Frederick's [ECF No. 13] motion to set aside

default is GRANTED. Plaintiff LM General's [ECF No. 8] motion for default judgment is

DENIED, and Plaintiff LM General's [ECF No. 8] motion for summary judgment is DENIED,

without prejudice.


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       IT IS SO ORDERED.

February 19, 2019              s/ R. Bryan Harwell
Florence, South Carolina       R. Bryan Harwell
                               United States District Judge




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